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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION


ROBERT BONZANI MD,                                    )
                                                      )
                        Plaintiff,                    )
                                                      )
         v.                                           )       Case No. 3:19-cv-00586-PPS-MGG
                                                      )
GOSHEN HEALTH SYSTEM, INC.,                           )
GOSHEN HOSPITAL ASSOCIATION, INC.,                    )
                                                      )
                        Defendants.                   )


                   DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS


         Goshen Health System, Inc. (“Goshen Health”) and Goshen Hospital Association, Inc.

(“Goshen Hospital” and, collectively with Goshen Health “Defendants”), through undersigned

counsel, respectfully submit this Motion to Dismiss, pursuant to Rule 12(b)(6) and Rule 9(b) of

the Federal Rules of Civil Procedure. In support of its Motion, Defendants state as follows:

                                         I. BACKGROUND

         Plaintiff is a urologist who was formerly employed by Defendants. In October 2017, a

patient died during surgery under Plaintiff’s care. Plaintiff’s surgical privileges were subsequently

suspended pending an investigation into the patient’s death. During the investigation, and while

the final decision on Plaintiff’s privileges was pending, Plaintiff resigned both his staff

membership and clinical privileges. Plaintiff’s resignation caused a triggering event wherein

Defendants were required to report their investigation and Plaintiff’s resignation to the National

Practitioner Data Bank (“NPDB”). The parties also entered into a Separation Agreement upon

Plaintiff’s resignation. The Separation Agreement agreed to compensate Plaintiff in exchange for

Plaintiff’s unconditional and irrevocable waiver of any and all claims Plaintiff may have against

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Defendants. Plaintiff also expressly contracted that he did not rely on any representations made

by Defendants in signing the Separation Agreement.

         Plaintiff has now filed this Amended Complaint seeking a declaratory judgment rendering

the Separation Agreement unenforceable as well as damages relating to various breach of contract

and fraud claims, defamation and disparagement. Plaintiff’s Amended Complaint is frivolous and

fails to state any claims upon which Plaintiff is entitled to relief. Plaintiff’s request for declaratory

judgment goes against longstanding Indiana caselaw, Defendants are immune from any liability,

Plaintiff has failed to sufficiently plead fraud as required under FRCP 9(b), and Plaintiff’s

remaining disparagement and defamation claims are without any merit. Finally, Plaintiff attempts

to elude his Employment Agreement, which is where this entire action arises out from, wherein

Plaintiff expressly waived his right to a jury trial and agreed to arbitrate his claims. Accordingly,

Plaintiff’s Amended Complaint must be dismissed under Rules 9(b) and 12(b)(6).

                                           II. RELEVANT FACTS

         1.        On December 14, 2016, Plaintiff signed the Employment Agreement between

himself and Goshen Health (Dkt. 19, p. 3 of 28, ¶ 16). The Employment Agreement was effective

December 26, 2016 (Dkt. 11, Sealed Exh. A, p. 12). The Employment Agreement states:

         18.    Entire Agreement. This Agreement constitutes the entire agreement
         between the parties and contains all the agreements between them with respect to
         the subject matter hereof. It also supersedes any and all other agreement or
         contracts, either oral or written, between the parties with respect to the subject
         matter hereof.

Dkt. 1, Sealed Exh. A, p. 10, ¶ 18. The Employment Agreement further states:

         22.    Arbitration. Except for a dispute arising under paragraph 13, any dispute
         or claim between the parties arising out of the interpretation of or performance
         under this Agreement shall be settled by arbitration. In such event, either party shall

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  Plaintiff attached the Employment Agreement and Separation Agreement to his Complaint but omitted attaching to
his Amended Complaint. However, Plaintiff has incorporated both agreements by reference and Defendants must
therefore cite to the attachments in Plaintiff’s Complaint.

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         make a written demand for arbitration, and each party shall then select an arbitrator.
         The two arbitrators shall select a third arbitrator. If they cannot agree within thirty
         (30) days, either party may request that selection be made by the Judge of the
         Elkhart Circuit Court. Unless both parties agree otherwise, arbitration will take
         place in Elkhart County, Indiana. Indiana law will apply as to arbitration procedures
         and evidence. A decision agreed to by two of the arbitrators will be binding on the
         parties. Judgment upon the award rendered by the arbitrator may be entered in any
         court having jurisdiction thereof. All costs of the arbitration shall be borne equally
         by the parties and each party shall be responsible for its attorney fees and expenses.

         In the event the provision for mandatory arbitration is declared invalid or is waived
         in writing or any dispute arising under this Agreement is submitted to the judicial
         process, then, to the furthest extent permitted by law, the parties hereby irrevocably
         waive all right of a trial by jury in any action, proceeding, or counterclaim arising
         out of or in connection with this Agreement or any matter arising in connection
         hereunder.

Dkt. 1, Sealed Exh. A, p. 11, ¶ 22.

         The Employment Agreement also allows Goshen Health to terminate it without cause,

stating, in relevant part:

         11.       Termination.

         e.      Termination Without Cause. Either party may terminate this Agreement
         without cause by giving the other party at least ninety (90) calendar days prior
         written notice of intent to terminate. . . . In the event that Goshen Health terminates
         this Agreement without cause, Goshen Health may provide compensation equal to
         the entire ninety (90) day notice period in lieu of Physician continuing to provide
         medical services hereunder for the duration of the ninety (90) days or else permit
         Physician to continue his employment through the ninety (90) day period.

Dkt. 1, Sealed Exh. A, p. 7-8, ¶ 11(e).

         2.        In October, 2017, a patient died during a surgery performed by Plaintiff (Dkt. 19,

p. 5 of 28, ¶ 33).

         3.        Plaintiff’s surgical privileges were suspended effective October 31, 2017 (Dkt. 19,

p. 6 of 28, ¶ 36-7).

         4.        Plaintiff requested an expedited hearing (Dkt. 19, p. 7 of 28, ¶ 41).




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         5.        Plaintiff withdrew his request for an expedited hearing. Subject Statement to

NPDB, below, incorporated by reference (Dkt. 19, p. 20 of 28, ¶ 118), attached as Exhibit 12.

         6.        On December 29, 2017, the Goshen Hospital Medical Executive Committee

suspended Plaintiff’s hospital privileges (Dkt. 19, p. 11 of 28, ¶ 64), and set a meeting to reach a

final decision on January 9, 2018. Id. ¶ 65.

         7.        On January 3, 2018, Plaintiff met with his own counsel (Dkt. 19, p. 14 of 28, ¶ 81).

         8.        Between January 2 and January 8, 2018, Plaintiff left his home twice to see his

therapist (Dkt. 19, p. 16 of 28, ¶ 90).

         9.        On January 5, 2018, Plaintiff’s attorney e-mailed him a copy of the Separation

Agreement with Goshen Health (Dkt. 19, p. 16 of 28, ¶ 93). Dr. Bonzani signed that Separation

Agreement. Id. (¶ 99 and Dkt. 1, Sealed Exhibit C).

         10.       Plaintiff entered into the Separation Agreement, resigning both his staff

membership and his clinical privileges, while the final decision on his privileges, initially

suspended due to the death of a patient during surgery by Plaintiff, was pending. Id.

         11.       Pursuant to the Separation Agreement, Plaintiff received all the compensation he

was due pursuant to Paragraph 11(e) of the Employment Agreement, 90 days of compensation, as

well as 90 day of reimbursement for COBRA premiums for himself and his family and forgiveness

of an outstanding loan amount of $54,864.00 (Dkt. 1, Sealed Exhibit C, p. 2, ¶ 2).

         12.       Plaintiff also unconditionally and irrevocably waived, released, and forever

discharged and covenanted not to sue Goshen Hospital and Goshen Health for any reason,



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  Plaintiff references the NPDB report in Paragraph 105 of his Amended Complaint and affirmatively states that a
“copy of the NPDB Report is attached to this Amended Complaint as Exhibit E.” Dkt. 19, p. 18 of 28, ¶ 105. However,
Defendants have been unable to identify an Exhibit E to Plaintiff’s Amended Complaint. Therefore, Defendants are
attaching the NPDB report to this Motion as Exhibit 1. This Court may consider Exhibit 1 because the NPDB report
was incorporated by reference in the pleadings. See Orgone Capital III, LLC v. Daubenspeck, 912 F.3d 1039, 1044
(7th Cir. 2019).

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specifically including any claims arising out of his employment, his separation from employment,

his membership on and resignation from medical staff, and any investigation, quality review, or

other action taken by Defendants (Dkt. 1, Sealed Exhibit C, p. 2, ¶ 3).

         13.       The Separation Agreement included both a “Confidentiality” and a “No

Disparagement” clause, each beginning with the phrase, “Except as may be required under

compulsion of law.” (Dkt. 1, Sealed Exhibit C, p. 5, ¶¶ 6 and 8).

         14.       The Separation Agreement also included the following paragraph:

         9.    Representations. EACH PARTY SIGNING BELOW REPRESENTS
         AND WARRANTS TO THE OTHER PARTY THAT THE PARTY HAS READ
         THIS AGREEMENT IN ITS ENTIRETY, AND HAVING HAD ACCESS TO
         LEGAL COUNSEL, FULLY UNDERSTANDS ITS CONTENTS AND
         EFFECTS AND AGREES TO BE FULLY BOUND BY ITS TERMS.

Dkt. 1, Sealed Exhibit C, p. 6, ¶ 9.

         15.       The Separation Agreement also contained a clause expressly stating that the

Separation Agreement is the entire agreement and that neither party relied upon representations or

statements of the other party in entering into this Separation Agreement:

         10.     Complete Agreement. This Agreement contains the entire understanding
         between Goshen Health and Bonzani, except as otherwise stated in this Agreement.
         This Agreement cannot be modified, amended, or terminated except by written
         instrument executed by Goshen Health and Bonzani, and no parties are relying upon
         any oral representations or statements in executing this Agreement. Should a court
         to deem any portion of this Agreement unenforceable, the remaining portion shall
         automatically be severed therefrom and shall remain in full force and effect. This
         Agreement shall be governed and construed in accordance with the laws of the State
         of Indiana.

Dkt. 1, Sealed Exhibit C, p. 6, ¶ 10.

         16.       On January 23, 2018, Goshen Hospital submitted a report to the NPDB. The report

stated, in its entirety:

         The President of the Medical Staff, under the authority of the Medical Executive
         Committee, suspended Dr. Bonzani's surgical privileges based on concerns related
         to procedure modality, patient selection, and case preparation following an

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         unexpected and significant post-surgery outcome. During the subsequent peer
         review investigation, but prior to a final recommendation of the Medical Executive
         Committee, Dr. Bonzani resigned his clinical privileges from the Hospital. Prior to
         his resignation and during the investigation, Dr. Bonzani requested and received a
         hearing limited only to the suspension. The Medical Executive Committee upheld
         the suspension pending completion of the investigation.

National Practitioner Data Bank Report, DCN 5500000131106214, January 23, 2018, attached as

Exhibit 1, incorporated by reference into Plaintiff’s Amended Complaint, (Dkt. 19, p. 18 of 28, ¶

105).

         17.       On February 12, 2018, Plaintiff filed his own statement with the NPDB:

         I am obligated to respond in order to add facts necessary to put this narrative into
         its proper perspective. The surgical procedure at issue occurred on Friday
         afternoon, and lasted into the evening, involving recurrent disease in a cancerous
         kidney. It was requested by the hospital tumor board and the patient's treating
         medical oncologist. I agree that the outcome was unexpected and significant. The
         following Tuesday my surgical privileges were suspended without explanation. I
         was informed that an investigation would ensue. I obtained a complete copy of the
         Medical Staff By-Laws, and found that I was entitled to an expedited Hearing
         within 14 days. When the Hearing was requested, the CMO informed me that
         the Medical Executive Committee (MEC) would be completing their
         investigation by the time the Hearing could proceed, and so, based on this
         information, I withdrew the request. The MEC obtained an external peer review,
         which was flawed as a result of incomplete medical records given to the reviewer,
         as well as the reviewer's limited experience. Upon my identifying these flaws, and
         without any precedent or implicit instruction in the Medical Staff By-Laws, the
         MEC decided to obtain a second external peer review. This explains why the
         suspension persisted beyond 30 days, triggering a reportable event to the NPDB.
         The Hearing occurred 43 days after the suspension was initiated. The private
         practice urologist, who has practiced in the Goshen community for 38 years,
         testified on my behalf. The Hearing committee recommended that the
         precautionary suspension be lifted. This recommendation was based on three
         factors: 1) the complexity, difficulty, and high-risk of the procedure; 2) requests
         from the Cancer Center tumor board to perform the case; and3) OR logistics, which
         were traced directly to afternoon OR staff that were not trained in robotics, and
         unproductive meetings regarding providing reasonable start times for cases of high
         complexity and length. I did not receive a copy of the Hearing Committee report
         until eight days after it was released. Despite the recommendation, the MEC
         continued to uphold the suspension without explanation. I was not allowed to
         directly address the MEC. I thereupon resigned. I now become the third (of three)
         hospital employed urologists to resign from Goshen Hospital in less than ten years.



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         Subject Statement, NPDB , DCN 5500000131106214, submitted 02/12/2018 (emphasis

added), attached as Exhibit 1, incorporated by reference, (Dkt. 19, p. 20 of 28, ¶ 118, attached as

Exhibit 1).

                                           III. ARGUMENT

         A party may move to dismiss a complaint that fails to state a claim upon which relief can

be granted. Fed. R. Civ. P. 12(b)(6). In order to survive a motion to dismiss under Rule 12(b)(6),

the amended complaint must contain allegations that collectively “state a claim to relief that is

plausible on its face.” Alarm Detection Sys., 930 F.3d at 821 (internal quotations omitted) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555). This plausibility

determination is “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Munson v. Gaetz, 673 F.3d 630, 633 (7th Cir. 2012).

         However, when a party alleges fraud, he or she “must state with particularity the

circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This means that the plaintiff ordinarily

must describe the “who, what, when, where, and how” of the fraud. United States ex rel. Berkowitz

v. Automation Aids, Inc., 896 F.3d 834, 839 (7th Cir. 2018) (internal quotations and citation

omitted). Although what constitutes “particularity” may depend on the facts of each case, Plaintiff

must “use some means of injecting precision and some measure of substantiation into their

allegations of fraud.” Id. (internal quotations, alteration, and citation omitted).




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A. THE SEPARATION AGREEMENT IS ENFORCEABLE

         Plaintiff’s Count I must be dismissed because Plaintiff has failed to establish any actual

controversy that would permit this Court to render the Separation Agreement unenforceable. The

Declaratory Judgment Act authorizes federal courts to “declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

(28 U.S.C. § 2201). In order to succeed on a request for declaratory judgment, Plaintiff must

establish the existence of an “actual controversy.” Northland Ins. Co. v. Gray, 240 F.Supp.2d 846,

848 (N.D. Ind. 2003). The threat of Plaintiff’s injury must be real and immediate, not conjectural

or hypothetical, and there must be a “substantial controversy, between parties having adverse legal

interest, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.”

Id. When no controversy exists, the case is moot. Id.

         An “actual controversy” exists when “the facts alleged under all circumstances show that

there is a substantial controversy, between parties having adverse legal interest, of sufficient

immediacy and reality to warrant issuance of a declaratory judgment. Id. Plaintiff’s request for a

declaratory judgment rendering the Separation Agreement unenforceable should be denied

because Plaintiff has failed to demonstrate an actual controversy exists. Plaintiff argues the

Separation Agreement is unenforceable for three3 reasons:

         a. That he “lacked the capacity to contract” at the time he signed it (Dkt. 19, p. 21-22 of

              28, ¶ 125).

         b. That Goshen Hospital and Goshen Health “fraudulently induced him to enter into” the

              Separation Agreement (Dkt. 19, p. 22 of 28, ¶ 126).



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  Plaintiff asserts additional grounds in his prayer for relief in Count I to render the Separation Agreement
unenforceable, specifically in subsections E & F. Plaintiff’s additional grounds in his prayer for relief are addressed
throughout this Motion.

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         c. That, subsequent to entering into the Separation Agreement, Goshen Health and

              Goshen Hospital breached it by submitting the NPDB report, in violation of the

              “Confidentiality” and “No Disparagement” provisions. Id. ¶ 127.

As the following subsections explain, none of the foregoing arguments asserted by Plaintiff

establish even the slightest controversy. Consequently, Plaintiff’s request for declaratory

judgment, Count I, should be denied for the following reasons.

         1. PLAINTIFF HAD CAPACITY TO CONTRACT

         Plaintiff attempts to circumvent the enforceability of the Separation Agreement by arguing

that Plaintiff was incapacitated when he signed the Separation Agreement. While Plaintiff makes

the allegation that he “was unable to understand in a reasonable manner the nature and effect of

signing the Separation Agreement,” he provides no basis for the conclusory statement. There is no

question that the test of the capacity to contract in Indiana is that a party “must not only have been

of unsound mind, but also must have had no reasonable understanding of the contract’s terms due

to his instability.” Wilcox Mfg. Group, Inc. v. Marketing Services of Indiana, Inc., 832 N.E.2d 559,

562 (2005), and Plaintiff’s Amended Complaint, (Dkt. 19, p. 17 of 28, ¶ 96), clearly recites this

rule. However, “threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662 at 678 (2009). Plaintiff’s

Amended Complaint admits that he was represented by counsel and he met with his attorney, (Dkt.

19, p. 14 of 28, ¶¶ 80-81), that he had the wherewithal to give a gun to his medical assistant “before

he hurt himself,” (Dkt.19, 15 of 28, ¶ 83), that he left the home to see his therapist, (Dkt. 19, p. 16

of 28, ¶ 90-92), that his attorney delivered the Separation Agreement by email, Id. ¶ 93, and that

he signed the Separation Agreement. Id. ¶ 99. The Amended Complaint does not allege that

Plaintiff was, either at the time he signed the Separation Agreement or any time thereafter,

judicially ascertained to be of unsound mind, placed under guardianship, or even diagnosed with

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 a psychiatric or psychological condition that would impair his ability to understand the actions he

 took in consultation with counsel. The threadbare recitation of the rule is insufficient to raise the

 claim that the Separation Agreement is unenforceable.

          2. PLAINTIFF WAS NOT FRAUDULENTLY INDUCED TO SIGN SEPARATION AGREEMENT

          Plaintiff also attempts to argue that he was fraudulently induced to enter into the Separation

 Agreement, again, to no avail. Plaintiff cannot rely on any alleged representations made by

 Defendants because (1) Plaintiff expressly contracted that he did not rely upon any representations

 by Defendants and (2) the parties contracted that the Separation Agreement was the entire

 agreement.

          The Separation Agreement explicitly states the following:

          10. Complete Agreement.        This Agreement contains the entire understanding
          between Goshen Health and Bonzani, except as otherwise stated in this Agreement.
          This Agreement cannot be modified, amended, or terminated except by written
          instrument executed by Goshen Health and Bonzani, and no parties are relying
          upon any oral representations or statement in executing this Agreement.
          Should a court to deem any portion of this Agreement unenforceable, the remaining
          portion shall automatically be severed therefrom and shall remain in full force and
          effect. This agreement shall be governed and construed in accordance with the laws
          of the State of Indiana.

 Dkt. 1, Sealed Exhibit C, p. 6, ¶ 10. (emphasis added).

           Whatever alleged misrepresentations Defendants made to Plaintiff have no bearing on the

 enforceability of the release because Plaintiff explicitly contracted away any right to rely on any

 representations of Defendants before entering into the Separation Agreement. See Prall v. Indiana

 Nat. Bank, 627 N.E.2d 1374, 1378 (Ind.Ct.App. 1994).

          The general rule in Indiana is “where the parties to an agreement have reduced the

 agreement to a written document and have included an integration clause that the written document

 embodies the complete agreement between the parties . . . the parol evidence rule prohibits courts



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 from considering parol or extrinsic evidence for the purpose of varying or adding to the terms of

 the written contract.” Krieg v. Hieber, 802 N.E.2d 938, 943 (Ind.Ct.App. 2004). The interpretation

 of a release is determined by the terms of the particular instrument, considered in light of all facts

 and circumstances. Prall, 627 N.E.2d at 1377. Release agreements are interpreted as a matter of

 law, absent some ambiguity. Id. In the absence of ambiguity, the court looks only to the instrument

 to ascertain the parties’ intent. Id. The weight given to an integration clause will vary, depending

 on the facts and circumstances of each particular case. Id. Where two sophisticated parties engage

 in extensive preliminary negotiations, an integration clause may, in fact, reflect their mutual

 intention to abandon preliminary negotiations in favor of a complete and final statement of the

 terms of their agreement. Id.

          Plaintiff negotiated and signed the Separation Agreement with the advice of counsel.

 Plaintiff, a urologist with advanced educational training, is a sophisticated party. The Separation

 Agreement clearly states that Plaintiff did not rely on any representations made by Defendants

 before signing the agreement. Additionally, Plaintiff has not argued that the integration clause, or

 the Separation Agreement as a whole, is ambiguous or that he entered into the Separation

 Agreement under economic duress. Therefore, the Separation Agreement is unambiguous and the

 Court must only look to the four corners of the Separation Agreement. Consequently, it is clear

 that Plaintiff has contracted away his right to claim he was relying upon any representations made

 by Defendants.

          Even if Plaintiff had not unequivocally affirmed in the Separation Agreement that he was

 not relying on any representations of Defendants, Plaintiff has failed to sufficiently plead that he

 was fraudulently induced. The general principle that fraud vitiates all contracts applies to releases.

 Campbell v. Criterion Group, 621 N.E.2d 342, 345 (Ind.Ct.App. 1993). The elements of fraud are



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 (1) a material representation of past or existing fact was made (2) which was untrue and known to

 be untrue by the party making it, or else recklessly made, (3) the other party did in fact rely on the

 representation, and (4) proximately caused the complaining party injury. Pugh’s IGA v. Super

 Food Services, Inc., 531 N.E.2d 1194, 1197 (Ind.Ct.App. 1988).

          Plaintiff simply states that Defendants cannot enforce the Separation Agreement because

 Defendants “fraudulently induced him to enter into the Separation Agreement.4“ (Dkt.19, p. 22 of

 28, ¶ 126 and p. 23 of 28, ¶ D). Plaintiff has not alleged any untrue material representation upon

 which he relied or suffered injury. Accordingly, Plaintiff has failed to sufficiently plead that he

 was fraudulently induced to enter into the Separation Agreement. The Separation Agreement is

 enforceable.

          3. ALLEGED DAMAGES ARE NOT GROUNDS TO SET ASIDE AN ENFORCEABLE AGREEMENT

          Plaintiff’s third reason to set aside the Separation Agreement actually alleges breach of the

 Agreement due to the NPDB report. This is not a basis to set it aside, but rather a completely

 different remedy that further proves Defendants’ position that Plaintiff’s request for declaratory

 judgment should be denied. Of course, as detailed below, there was no breach and there are no

 damages for breach, as will be further discussed below. Subsequent breach is not a basis to nunc

 pro tunc set aside a contract. Regardless, as the following Section B clearly articulates, Defendants

 could not have possibly breached the “Confidentiality” or “No Disparagement” provisions of the

 Separation Agreement.

 B. GOSHEN HOSPITAL COULD NOT BREACH SEPARATION AGREEMENT

          Plaintiff next argues that, even if the Separation Agreement is enforceable, Defendants

 breached the Separation Agreement by violating the confidentiality and non-disparagement


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  To the extent Plaintiff argues that Defendants fraudulently induced Plaintiff to enter into the separation Agreement
 because of the NPDB report, please see Section D.2, pp. 21-2.

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 provisions. The essential elements of a breach of contract are the existence of a contract, a breach

 thereof, and damages. Fowler v. Campbell, 612 N.E.2d 596, 600 (Ind. Ct. App. 1993). Defendants

 did not violate the Separation Agreement for a variety of reasons. First, both the “Confidentiality”

 provision and the “No Disparagement” provision are limited by the statement, “(e)xcept as may

 be required under compulsion of law.” (Dkt. 1, Sealed Exhibit C, p. 5, ¶¶ 6 and 8). Second,

 Plaintiff’s own response to the NPDB report verifies the report and establishes that Defendants did

 not disparage him. Third, Defendants are immune from liability under both the Health Care Quality

 Improvement Act and Indiana Peer Review Statute. Finally, in the event of breach, which

 Defendants steadfastly deny, Plaintiff has not suffered any damages. Accordingly, Counts II, IV,

 and V must be dismissed for failure to state a claim upon which relief may be granted.

          1. DEFENDANTS WERE LEGALLY REQUIRED TO SUBMIT THE NPDB REPORT

           Both the “Confidentiality” provision and “No Disparagement” provision are limited by

 the statement, “[e]xcept as may be required under compulsion of law.” (Dkt. 1, Sealed Exhibit C,

 p. 5, ¶¶ 6 and 8). When Plaintiff resigned, he caused a triggering event that imposed a legal

 obligation on Defendants to report his resignation to the Board of Medical Examiners. 42 U.S.C.

 § 11133(a)(1)(B)(i), states that “[e]ach health care entity which . . . accepts the surrender of clinical

 privileges of a physician . . . while the physician is under an investigation by the entity relating to

 possible incompetence or improper professional conduct . . . shall report to the Board of Medical

 Examiners.” Plaintiff admitted that he signed the Separation Agreement while the investigation

 was pending (Dkt. 19, p. 17 of 28, ¶ 99). Plaintiff’s resignation triggered Defendants’ legal

 obligation to submit a report to the Board of Medical Examiners. Plaintiff cannot now hold

 Defendants liable for complying with Federal law.




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          2. PLAINTIFF VERIFIED DEFENDANTS’ NPDB REPORT

          Plaintiff claims that the NPDB report disparaged and defamed Plaintiff. A defamatory

 communication is said to either be defamation per se or defamation per quod. Kelley v. Tanoos,

 865 N.E.2d 593, 596 (Ind. 2007). Defamation per se, as applied to Plaintiff, means the

 communication must impute misconduct in a person’s trade, profession, office, or occupation.5 Id.

 All other defamatory communications are defamatory per quod. Id. To succeed on a defamation

 claim, whether per se or per quod, Plaintiff must establish (1) a communication with defamatory

 imputation, (2) malice, (3) publication, and (4) damages. Id. at 597. However, truth is a complete

 defense to a defamation claim. Benson v. WANE-TV 15, 106 N.E.3d 1055, 1056 (Ind. Ct. App.

 2018). Further, a qualified privilege exists when the communication is made in good faith by a

 party who has a legal duty to make the communication and makes the communication to another

 party with a corresponding interest or duty. Bals v. Verduzco, 600 N.E.2d 1353, 1356 (Ind. 1992).

          Not only was Defendants’ communication truthful, but it was communicated to the NPDB

 who had a corresponding interest. Therefore, Plaintiff’s defamation claim must fail.

          Further, Plaintiff’s own admission in his response to the NPDB report, Plaintiff has failed

 to establish that Defendants disparaged or defamed Plaintiff. Goshen submitted the following to

 the NPDB:

          The President of the Medical Staff, under the authority of the Medical Executive
          Committee, suspended Dr. Bonzani's surgical privileges based on concerns related
          to procedure modality, patient selection, and case preparation following an
          unexpected and significant post-surgery outcome. During the subsequent peer
          review investigation, but prior to a final recommendation of the Medical Executive
          Committee, Dr. Bonzani resigned his clinical privileges from the Hospital. Prior to
          his resignation and during the investigation, Dr. Bonzani requested and received a
          hearing limited only to the suspension. The Medical Executive Committee upheld
          the suspension pending completion of the investigation.


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  The other three kinds of defamation per se, (1) criminal conduct, (2) a loathsome disease, or (3) sexual misconduct,
 are inapplicable to the case at hand.

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           Plaintiff’s response to Defendants’ NPDB report shows that Defendants did not disparage

 Plaintiff. In fact, Plaintiff’s own Amended Complaint verifies almost every sentence in the NPDB

 report:

           NPDB Report: The President of the Medical Staff, under the authority of the Medical
                Executive Committee, suspended Dr. Bonzani's surgical privileges based on
                concerns related to procedure modality, patient selection, and case preparation
                following an unexpected and significant post-surgery outcome.

           Amended Complaint:

                    33. Goshen Hospital and Goshen Health continued to dismiss Dr. Bonzani’s
                    concerns regarding procedures and staffing until, in the fall of 2017, a patient died
                    at Goshen Hospital during a complicated surgery being performed by Dr. Bonzani.

                    35. Following the surgery, in October 2017, Dr. Murphy recommended that Dr.
                    Bonzani’s surgical privileges at Goshen Hospital be suspended due to Dr.
                    Bonzani’s failure to handle the complex robotic surgery, despite the fact she and
                    Dr. Gerig failed as well.

                    36. After Dr. George Kim, President of the Medical Staff at Goshen Hospital,
                    agreed with Dr. Murphy’s recommendation, Dr. Bonzani’s suspension was carried
                    out by Goshen Hospital’s Chief Medical Officer at the time, Dr. Larry Allen –
                    effective October 31, 2017.

           NPDB Report: During the subsequent peer review investigation, but prior to a final
                recommendation of the Medical Executive Committee, Dr. Bonzani resigned his
                clinical privileges from the Hospital.

           Amended Complaint:

                    43. Dr. Bonzani participated in all levels of the Peer Review process and offered
                    evidence to show that he has been a competent urologist serving his patients well
                    for many years.

                    99. Dr. Bonzani signed the Separation Agreement on January 8, the day before he
                    had been led to believe the Medical Executive Committee would find against him
                    resulting in his involuntary termination from Goshen Health without severance pay.

           NPDB Report: Prior to his resignation and during the investigation, Dr. Bonzani requested
                and received a hearing limited only to the suspension.

           Amended Complaint:

                    59. On December 13, 2017, the Hearing Committee conducted Dr. Bonzani’s
                    hearing. The Hearing Committee consisted of Dr. Daniel Bruetman, Dr. Max

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                    Mertz, Dr. James Lindemulder, and Dr. Benjamin Nelson. At the beginning of the
                    hearing, Dr. Bonzani was advised by the Hearing Committee that despite what the
                    Notice of Hearing stated, the hearing would be limited to the single surgery that
                    triggered the suspension of his surgical privileges. Given what the notice had stated,
                    Dr. Bonzani came to the hearing prepared to address the single surgical event but
                    also all of the cases reviewed in the Case Report. The Hearing Committee denied
                    Dr. Bonzani the opportunity to address the other nine cases.

          NPDB Report: The Medical Executive Committee upheld the suspension pending
               completion of the investigation.

          Amended Complaint:

                    64. Ignoring the Hearing Committee’s decision, the Medical Executive Committee
                    decided at the December 27, 2017 meeting to increase Dr. Bonzani’s reprimand
                    from a surgical suspension to a formal hospital suspension. Upon information and
                    belief, the Medical Executive Committee based its decision on the second Peer
                    Review report.

                    65. The Medical Executive Committee then scheduled a meeting on January 9,
                    2018 at which time it would make a final decision regarding Dr. Bonzani’s
                    suspension.

          While Plaintiff alleges he was disparaged by the NPDB report, his own Amended

 Complaint tracks that report in every relevant part. Plaintiff’s claim is refuted by his own Amended

 Complaint. Plaintiff cannot argue that Defendants had knowledge of the falsity of their report,

 when the report so closely tracks his own Amended Complaint. He can only allege that the truth

 might be damaging to him.

          3. DEFENDANTS ARE IMMUNE UNDER THE HEALTHCARE QUALITY IMPROVEMENT ACT

          Further, the alleged disparagement is based upon the report to the NPDB, an action taken

 as part of what Plaintiff admits was peer review. Defendants are entitled to immunity for filing the

 NPDB report (42 U.S.C. § 11137(c)). Federal law provides immunity to any participant of a formal

 peer review proceeding via the Health Care Quality Improvement Act (HCQIA).

          Under the Healthcare Quality Improvement Act (“HCQIA”), a professional review body,

 which Defendants qualify as, “shall not be liable in damages under any law of the United States



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 or of any State (or political subdivision thereof) with respect to the action.” (42 U.S.C. §

 11111(a)(1)). A professional review action is “an action or recommendation of a professional

 review body which is taken or made in the conduct of professional review activity, which is based

 on the competence or professional conduct of an individual physician (which conduct affects or

 could affect adversely the health or welfare of a patient or patients), and which affects (or may

 affect) adversely the clinical privileges, or membership in a professional society, of the physician.

 Such term includes a formal decision of a professional review body not to take an action or make

 a recommendation described in the previous sentence and also includes professional review

 activities relating to a professional review action.” (42 U.S.C. § 11151(9)). HCQIA provides

 immunity from suit for providing information to a professional review body “unless such

 information is false and the person providing it knew that such information was false.” (42 U.S.C.

 § 11111(a)(2)). Lastly, a “professional review action shall be presumed to have met the preceding

 standards necessary for the protection set out in section 11111(a) of this title unless the

 presumption is rebutted by a preponderance of the evidence.” (42 U.S.C. § 11112(a)).

           Plaintiff admits in his Amended Complaint that he participated in a peer review process

 after his privileges were suspended (Dkt. 19, p. 7 of 28, ¶ 43). When Plaintiff resigned during the

 peer review process, Defendants were required to submit the NPDB report. As described in the

 previous section, Plaintiff’s own Amended Complaint proves the truthfulness of Defendants’

 NPDB report. Because the NPDB report was the result of the formal peer review process,

 HCQIA’s immunity was triggered and applies, thereby barring all of Plaintiff’s allegations in this

 matter.




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           4. DEFENDANTS ARE IMMUNE UNDER THE INDIANA PEER REVIEW STATUTE

           As with HCQIA’s protections, Indiana’s provisions, too, protect Defendants. The only

 alleged defamatory statement by Defendants occurred because Plaintiff’s resignation in the middle

 of a formal peer review process required Defendants to submit a NPDB report. Indiana law

 provides complete immunity from Plaintiff’s claims.

           Indiana’s Peer Review Privilege serves the purpose of ensuring the candid and effective

 review of medical care. Ray v. St. John’s Health Care Corporation, 582 N.E.2d 464 (Ind. App. Ct.

 1991). The privilege precludes the admission into evidence of any privileged document unless

 consented to in writing by the peer review committee (Ind. Code §34-30-15-9). The privilege is to

 be applied broadly by courts in order to “protect all communications relating to the review of

 patient care” from disclosure during “any judicial proceeding.” (I.C. §34-30-15-9); See Mulder v.

 Vankersen, 637 N.E.2d 1335, 1338.6 This statutory privilege may only be waived in writing by

 the reviewing committee. Id at 1339; I.C. §34-30-15-9. Critically, this privilege remains intact

 even if information is otherwise disclosed outside of the peer review proceedings: “a breach of

 confidentiality does not cause the peer review privilege to be waived.” Mulder, 637 N.E.2d at

 1340. It remains intact even in a defamation case, where the alleged defamatory statement took

 place in the course of peer review. Id.

           Communications protected by the Peer Review privilege remain privileged even if later

 memorialized in a written memo where that memo is disclosed to individuals outside of the peer

 review committee. In Mulder, a memorandum that was not prepared for the peer review committee,

 but that memorialized communications during the course of peer review, was subject to the


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     The version of the statute cited in Ray and Mulder has been repealed, but the operative language is the same.
     Previous Ind. Code §34-4-12.6-2(h)(2) (1994) attached as Exhibit 3-1, and current I.C. §34-30-15-9 (2014)
     attached as Exhibit 3-2. See Fridono v. Chuman citing both Ray and Mulder as controlling law on the waiver of
     peer review privilege after changes to the statute. 747 N.E.2d 610, 620 (Ind. App. Ct. 2001).

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 privilege. (637 N.E.2d at 1339). The Court found the memorialized comments were as protected

 in the memo as when they had been made before the Peer Review Committee. Id. The Court drew

 by analogy upon the attorney-client privilege: as attorney notes memorializing a privileged

 communication with a client remain privileged, so too do memorializations of otherwise privileged

 peer review communications. Id. Finally, rebutting the Plaintiff’s attempt to argue the privilege

 had been waived by previous disclosure of the communication, the Court reiterated that the peer

 review privilege, unlike other privileges, is only subject to waiver as provided by the statute:

 written waiver by the committee. Id. Because the Committee had never provided a written waiver,

 the privilege remained intact. Id.

          5. PLAINTIFF HAS NOT SUFFERED DAMAGES

          Finally, Plaintiff suffered no damages for the alleged breach. The Employment Agreement

 allowed for termination without cause and required payment of 90 days in compensation (Dkt. 1,

 Sealed Exhibit A, p.7-8, ¶ 11(e)). As part of the Separation Agreement, Plaintiff received

 everything he was entitled to for termination without cause, and more. He received 90 days of

 income, 90 days of COBRA coverage, and almost $55,000.00 in loan forgiveness (Dkt. 1, Sealed

 Exhibit C, p. 2, ¶ 2). He received even more than he was entitled to, had Defendants terminated

 him without cause. He cannot show damages, and therefore he lacks standing to bring the claim.

 C. DEFENDANTS FOLLOWED THEIR BYLAWS

          Plaintiff argues that Defendants breach their Medical Staff bylaws by (1) failing to provide

 Plaintiff with an expedited hearing that he requested, (2) ordering a second Peer Review report,

 and (3) broadening the reason for Plaintiff’s suspension. First, Plaintiff does not have a legitimate

 cause of action for his breach of bylaws claim against Defendants because he withdrew his request

 for an expedited hearing. (Subject Statement, NPDB, DCN 5500000131106214, submitted



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 02/12/2018). Plaintiff’s own report to the NPDB admits that he withdrew his expedited hearing

 request. Second, Plaintiff’s allegation that Defendants’ breached their medical staff bylaws became

 moot once he resigned mid-investigation and prevented Defendants from utilizing the peer review

 process. Accordingly, Plaintiff’s Count III must be dismissed for failure to state a claim upon

 which relief may be granted.

 D. PLAINTIFF HAS FAILED TO SUFFICIENTLY PLEAD FRAUD

          Plaintiff’s final count, Counts VI, must also be dismissed. Plaintiff’s argument that

 Defendants fraudulently induced him to sign the Separation Agreement must be dismissed because

 Plaintiff has again failed to state a claim upon which relief may be granted (Dkt. 19, p. 26 of 28,

 ¶¶ 145 to 150). To state a claim for fraudulent inducement, Plaintiff must allege “(1) a material

 misrepresentation of past or existing facts; (2) made with knowledge or reckless ignorance of its

 falsity; (3) which caused the claimant to rely upon the misrepresentation to the claimant’s

 detriment.” Jones v. Oakland City Univ., 122 N.E.3d 911, 918 (Ind.Ct.App. 2019), citing Siegel v.

 Williams, 818 N.E.2d 510, 515 (Ind.Ct.App. 2004). Further, the claim “may not be predicated

 upon representation of future conduct,” id. and may not be based on “broken promises, unfulfilled

 predictions, or statements of intent which are not executed.” Id. Citing Maynard v. 84 Lumber Co.,

 657 N.E.2d 406, 409 (Ind.Ct.App. 1995), trans. denied.

          When a party alleges fraud, he “must state with particularity the circumstances constituting

 fraud.” Fed. R. Civ. P. 9(b). This means that the plaintiff ordinarily must describe the “who, what,

 when, where, and how” of the fraud. United States ex rel. Berkowitz v. Automation Aids, Inc., 896

 F.3d 834, 839 (7th Cir. 2018) (internal quotations and citation omitted). Although what constitutes

 “particularity” may depend on the facts of each case, plaintiffs must “use some means of injecting




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 precision and some measure of substantiation into their allegations of fraud.” Id. (internal

 quotations, alteration, and citation omitted).

          Plaintiff alleges Defendants fraudulently induced him into entering into the Settlement

 Agreement, arguing Defendants were required to submit a NPDB report on or before December

 31, 2017. Plaintiff erroneously supports this assertion, claiming that because the Separation

 Agreement referenced suspension of privileges on October 31, 2017, Plaintiff could rely on this

 reference that no NPDB report would be filed (Dkt. 19, p. 18-19 of 28, ¶¶ 108-111). This misstates

 both the basis for the NPDB report and the law. Again, Defendants were never required to submit

 the NPDB report until Plaintiff resigned in the middle of the peer review investigation. Once

 Plaintiff resigned, Defendants became legally required to submit the NPDB report.

          Plaintiff’s theory does not even suggest a material misrepresentation of past or existing

 facts by the Defendants. Rather, it suggests that Plaintiff, himself, miscalculated Defendants’ duty

 to submit an NPDB report, believing it was due on December 31st or sooner, and that he relied

 upon that miscalculation for his assumption that no report would follow. Ironically, the Separation

 Agreement he signed based upon his own miscalculation, which he never transmitted to

 Defendants, was the actual event that triggered the eventual NPDB report.

          42 U.S.C. § 11133(a)(1)(B)(i), clearly articulates the triggering event. It states that “[e]ach

 health care entity which . . . accepts the surrender of clinical privileges of a physician . . . while

 the physician is under an investigation by the entity relating to possible incompetence or improper

 professional conduct . . . shall report to the Board of Medical Examiners.” Defendants had no duty

 to submit the NPDB report until they, as the health care entity, accepted Plaintiff’s signed

 Separation Agreement, which surrendered Plaintiff’s clinical privileges, while Plaintiff was still




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 under investigation. Stated otherwise, Defendant’s duty to submit the NPDB report materialized

 on January 8, 2018, when Plaintiff signed the Separation Agreement.

          Plaintiff is apparently attempting to equate suspension with surrender. Defendants’ legal

 requirement to report Plaintiff to the NPDB board was not triggered when it temporarily suspended

 Plaintiff’s privileges to conduct an investigation. The suspension and investigation were not final

 actions that would require any reporting. Rather, they are a process to determine whether Plaintiff’s

 actions relating to the patient death warranted Defendants’ legal requirement to submit a NPDB

 report. Plaintiff’s argument that Defendants were required to submit the NPDB report upon

 temporarily suspending Plaintiff’s privileges to conduct an investigation is premature. Common

 sense supports this reasoning. If Plaintiff let the investigation play out and come to a final

 resolution, and if Defendants had found that Plaintiff was not a threat to patient care, then

 Defendants would have reinstated Plaintiff’s privileges. This would not have triggered a duty to

 submit a NPDB report, and for good reason because it would be harmful to Plaintiff if Defendants

 submitted a report before it completed its investigation. However, because Plaintiff resigned while

 the investigation was pending, Defendants were required to submit the report.

          Defendants could not fraudulently induce Plaintiff to perform an act by following the law.

 Naturally, Defendants did not make any material misrepresentation to Plaintiff upon which he

 reasonably relied and suffered damages. Plaintiff’s Count VI must be dismissed.

 E. PLAINTIFF IS NOT ENTITLED TO A JURY TRIAL

          Lastly, Plaintiff’s Jury Trial Demand should be denied. The arbitration provision in

 Plaintiff’s Employment Agreement specifically states that “[i]n the event . . . any dispute arising

 under this Agreement is submitted to the judicial process, then . . . the parties hereby irrevocably

 waive all right of a trial by jury in any action, proceeding, or counterclaim arising out of or in



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 connection with this Agreement or any matter arising in connection hereunder.” (Dkt. 1, Sealed

 Exh. A, p. 10, ¶ 22). All of Plaintiff’s claims arise from his employment with Defendants and

 Plaintiff’s performance under the Employment Agreement. Any claims that survive this Motion

 or are determined non-arbitrable must be heard by this Court and not submitted to a jury.

 F. CONCLUSION

          Plaintiff has failed to state multiple claims upon which he is entitled to relief. Plaintiff had

 capacity when he signed the Separation Agreement with the assistance of counsel, Plaintiff

 contracted away his right to rely upon any representations by Defendants and was therefore not

 fraudulently induced into entering the Separation Agreement, and Defendants could not have

 breached the “Confidentiality” and “No Disparagement” provisions of the Separation Agreement

 because they were legally required to report the resignation to the NPDB. The Separation

 Agreement is therefore enforceable.

          Because Plaintiff is bound by the Separation Agreement, his other causes of action must

 be dismissed. Defendants could not have breached the Separation Agreement because Defendants

 were required by law to submit the NPDB report. Defendants also followed their own bylaws and,

 even if they hadn’t, Plaintiff’s resignation rendered his claim futile. Defendants could not have

 disparaged or defamed Plaintiff, or breached their confidentiality duty to Plaintiff, because they

 were legally required to submit the NPDB report. Finally, Plaintiff has failed to sufficiently plead

 fraud in the inducement to enter into Separation Agreement. Accordingly, Plaintiff’s Counts I, II,

 III, IV, V, and VI must all be dismissed, and Plaintiff’s Jury Trial Demand must be denied.




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                                Respectfully submitted,

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